AO 108 (Rev. 06/09) Application for a Warrant to Seize Property Subject to Forfeiture

UNITED STATES DISTRICT COURT

for the
Middle District of North Carolina

In the Matter of the Seizure of
(Briefly describe the property to be seized)

Case No. 1.24 mM) 23

All funds on deposit in Bank of America, N.A. account number
237047984334, in the name of Robert W. Oliver Sole Prop, DBA
Shenanigan Gigs

a SSS

APPLICATION FOR A WARRANT
TO SEIZE PROPERTY SUBJECT TO FORFEITURE BY TELEPHONE OR OTHER
RELIABLE ELECTRONIC MEANS

I, a federal law enforcement officer or attorney for the government, request a seizure warrant and state under

penalty of perjury that I have reason to believe that the following property in the Middle District of
North Carolina is subject to forfeiture to the United States of America under 18 U.S.C. §

98 l(a) )(A) & (describe the property):

982(a)(1)

All funds on deposit in Bank of America, N.A. account number 237047984334, in the name of Robert W. Oliver Sole Prop,
DBA Shenanigan Gigs

The application is based on these facts:
See attached Affidavit.

[V continued on the attached sheet.

/s/ Alberto Sananbria, US Postal Inspector, USPS
Applicant’s signature

Alberto Sanabria, US Postal Inspector

Printed name and title

In accordance with Rule 4.1(b)(2)(A), the Applicant appeared before me by telephone, was placed under
oath, and attested to the contents of this Application, which was submitted to me by reliable electronic
means.

owe, 6/77] 2024 sds Paalt—

Judge’s signature

City and state: Winston-Salem, NC Hon. Joi Elizabeth Peake, United States Magistrate Judge

Printed name and title

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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

IN THE MATTER OF THE SEIZURE OF:

ALL FUNDS IN -2Umi
BANK OF AMERICA ACCOUNT 114092752, CaseNo._]+ 24 Mm) 23

BANK OF AMERICA ACCOUNT 237047984334,
and BANK OF AMERICA
ACCOUNT 237046329725

AFFIDAVIT IN SUPPORT OF
APPLICATION FOR SEARCH AND SEIZURE WARRANT

I, Alberto G. Sanabria, being first duly sworn, hereby depose and state as follows:

INTRODUCTION AND AGENT BACKGROUND

1. I am a United States Postal Inspector with the United States Postal Inspection
Service (“USPIS”) and have been so employed since 2013. During this time, I have been assigned
to the Financial Crimes team and Prohibited Mailing Narcotics team where my duties include the
investigation of fraud-related criminal schemes and prohibited mailing of controlled substances.
I have received formal classroom training from the United States Postal Service Inspection
Service during the 12-week Postal Inspector Basic Training Academy in Potomac, Maryland. |
have received formal instruction from U.S. Postal Inspectors as well as other federal, state, and
local law enforcement agents who have done extensive work in the areas of mail fraud, wire fraud,
and the use of the U.S. mail to execute fraudulent acts. Based on my training and experience, I
am familiar with the current method of operation that individuals and groups use to engage in
illegally obtaining merchandise from retail establishments, through theft and/or fraud, and using

the U.S. mail to send and receive the merchandise.

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PURPOSE OF THE AFFIDAVIT

Ds Based on my training and experience and the facts set forth in this affidavit, there
is probable cause to believe that Robert “Bob” Oliver (“OLIVER”) committed violations of 18
U.S.C. § 2314 (interstate transportation of stolen property), 18 U.S.C. § 1341 (mail fraud), 18
U.S.C. § 1343 (wire fraud), and 18 U.S.C. § 1349 (conspiracy to commit mail and wire fraud),
and 18 U.S.C. § 1956(a)(1) (money laundering) (collectively, the “SUBJECT OFFENSES”).

3. I make this affidavit in support of the attached application under 18 U.S.C. §§
981(a)(1)(C) and 982(a)(1), and 28 U.S.C. § 2461, for combined criminal and civil seizure
warrants for all funds on deposit in the following accounts:

a. Bank of America, N.A., account 114092752, in the names of Robert W. Oliver
and In-Ok Oliver;

b. Bank of America, N.A., account 237047984334, in the name of Robert W. Oliver
Sole Prop, DBA Shenanigan Gigs; and

c. Bank of America, N.A. in account 237046329725, in the name of Robert W.
Oliver,

(hereafter the “SUBJECT ACCOUNTS”). As set forth herein, there is probable cause to believe
that funds on deposit in the SUBJECT ACCOUNTS constitute property involved in transactions
or attempted transactions in violation of 18 U.S.C. § 1956, and are therefore subject to seizure and
civil or criminal forfeiture pursuant to 18 U.S.C. §§ 981(a)(1)(A) and 982(a)(1). Accordingly, I
respectfully request that warrants be issued authorizing the seizure of all funds in the SUBJECT
ACCOUNTS.

4, This affidavit is intended to show merely that there is sufficient probable cause for

the requested warrants and does not set forth all of my knowledge about this matter.

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SUBJECT OFFENSES

5. Title 18, United States Code, Section 1341 (Mail Fraud) prohibits a person, having
devised or intending to devise any scheme or artifice to defraud, or for obtaining money or
property by means of false or fraudulent pretenses, representations, or promises, for the purpose
of executing such scheme or artifice or attempting to do so, from placing in any post office or
authorized depository for mail matter, any matter or thing whatever to be sent or delivered by the
Postal Service, or depositing or causing to be deposited any matter or thing whatever to be sent
or delivered by any private or commercial interstate carrier, or taking or receiving therefrom, any
such matter or thing, or knowingly causing to be delivered by mail or such carrier according to
the direction thereon, or at the place at which it is directed to be delivered by the person to whom
it is addressed, any such matter or thing.

6. Title 18, United States Code, Section 1349 (Conspiracy to Commit Mail Fraud)
prohibits a person from attempting or conspiring to commit mail fraud, the commission of which
was the object of the attempt or conspiracy.

7. Title 18, United States Code, Section 2314 (interstate transportation of stolen
property) prohibits a person from transporting, transmitting, or transferring in interstate or foreign
commerce any goods, wares, merchandise, securities, or money, of the value of $5,000 or more,
knowing the same to have been stolen, converted, or taken by fraud.

8. Title 18, United States Code, Section 1343 (wire fraud) prohibits a person from,
having devised or intending to devise any scheme or artifice to defraud, or for obtaining money
or property by means of false or fraudulent pretenses, representations, or promises, transmitting

or causing to be transmitted by means of wire, radio, or television communication in interstate or

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foreign commerce, any writings, signs, signals, pictures, or sounds for the purposes of executing
such a scheme or artifice.

9. Title 18, United States Code, Section 1956(a)(1) (money laundering) generally
prohibits a person, knowing that the property involved in a financial transaction represents the
proceeds of some form of unlawful activity, from conducting or attempting to conduct such a
financial transaction which in fact involves the proceeds of specified unlawful activity (A)(i) with
the intent to promote the carrying on of specified unlawful activity, or (ii) with the intent to engage
in conduct constituting a violation of section 7201 or 7206 of the Internal Revenue Code of 1986;
or (B) knowing that the transaction is designed in whole or in part (i) to conceal or disguise the
nature, the location, the source, the ownership, or the control of the proceeds of specified unlawful
activity, or (ii) to avoid a transaction reporting requirement under State or Federal law.

PROBABLE CAUSE

10. In the course of my duties as a United States Postal Inspector with the USPIS, 1,
alongside other law enforcement investigators and retail investigators, have been conducting a
criminal investigation associated with an organized retail crime scheme involving the theft of
various retail products, including over the counter (“OTC”) products and medications, from retail
stores and pharmacies. This investigation has revealed a large-scale operation involving
individuals, also known as “boosters,” who steal the retail products throughout the United States.
These boosters then sell the items to individuals, also known as “fences,” who are responsible for
receiving the items, and selling them to end consumers through eBay.

11. Investigators identified several boosters in Indiana who are suspected of selling
the items to Tina Creech Herwehe, her son Anthony McKinney, and others, at a residence located

in Indianapolis, IN. Herwehe then ships the products to OLIVER using the U.S. Mail and other

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carriers to OLIVER’s residence located at 422 Foster Lane, Pittsboro, NC. Investigators
additionally identified other individuals in Maryland who shipped large quantities of retail
products to OLIVER at his residence. OLIVER, who has numerous eBay accounts, then sells the
products to end consumers on eBay and ships the products through the U.S. Mail. Based on eBay
records associated with OLIVER’s various eBay accounts, retail investigators have estimated
several million dollars in losses to retail companies as a result of the scheme.

A. USPS Parcel 35US & USPS Parcel 14US

12. Beginning on or about May 21, 2019, the United States Postal Inspection Service
intercepted two United States Postal Service (“USPS”) parcels bearing tracking numbers
EE179287535US. (“Parcel 35US”) and EE391166014US (“Parcel 14US”), going to the
OLIVER’s residence. Postal Inspectors applied for Federal Search Warrants, and the Honorable
United States Magistrate Judge Joi Elizabeth Peake signed the warrants (1:19MJ174 &
1:19MJ175). The parcels were deemed suspicious in nature because, although both were mailed
from St. Louis, Missouri, one had a return address of Broadview, Illinois 60155 (1:19MJ174),
and the other had a return address of Darien, Wisconsin 53114 (1:19MJ175). Both parcels had
handwritten labels and were heavily taped, including all seams of the boxes.

13. The parcels were opened by Postal Inspectors on May 23, 2019, pursuant to the
signed Federal Search Warrants. The parcels contained retail products, such as name brand OTC
medication and some store-branded OTC medication, from retail stores. The two parcels
contained items such as Prevagen, Viviscal, Extenz, Florastor, PlanB, Imedeen, RepHresh, PRO-

B, and Zyrtec. The items were repackaged and subsequently delivered to OLIVER.

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B. eBay Accounts
14. The investigation confirmed that OLIVER sells retail products, in part, through

various eBay accounts and utilizes the OLIVER’s residence to receive, store, and ship the items.
OLIVER sells the merchandise through eBay, which includes but is not limited to, Prevagen,
Viviscal, Extenz, Florastor, PlanB, Imedeen, RepHresh, PRO-B, Zyrtec, and many other
products. The following is a list of eBay company, also known as “eBay Store”, accounts (the
“SUBJECT BUSINESSES”) registered to OLIVER, that, as of the day of the application for this
warrant, have retail products listed for sale:

a. carolina otc (seller ID name is listed as Carolina_OTC)

b. emily-tastic (seller ID name is listed as emilys_finds247)

c. olivertwistne (seller ID name is listed as OLIVERTWIST’S SUPPLEMENTS

AND MORE)
The registration information on all three eBay accounts lists OLIVER’s name, OLIVER’s
residence, and phone number of (919) 444-4880. Records show phone number (91 9) 444-4480 is
associated with OLIVER. The email accounts associated with each account are as follows:
a. carolina otc: olivertwistnc2011@yahoo.com

b. emily-tastic: olivertwistnc2003@gmail.com

c. olivertwistne: olivertwistnc2003@yahoo.com
15s In reviewing eBay transactions associated with the “carolina-otc” account from
February 2020 to February 2024, investigators discovered over 25,000 items were sold through
that account which totaled approximately $812,611 in revenue. The majority of the items sold

consisted of items such as OTC products sold in retail stores.

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16. In reviewing eBay transactions associated with the “emily-tastic” account from
February 2020 to February 2024, investigators discovered approximately 28,000 items were sold
through that account which totaled approximately $1,024,641 in revenue. The majority of the
items sold consisted of items such as OTC products sold in retail stores.

17. In reviewing eBay transactions associated with the “olivertwistnc” account from
February 2020 to February 2024, investigators discovered approximately 26,000 items were sold
through that account which totaled approximately $942,215 in revenue. The majority of the items
sold consisted of items such as OTC products sold in retail stores.

18. A review of some recently listed items (from records obtained directly from eBay)

sold on all three of OLIVER’s eBay accounts reveals the following transactions:

Listing Sale Creation | Purchase
Title of Items Sold IP Address? Date/Time Date/Time
BOTH BOTTLES of Prevagen
Extra Strength AS PICTURED
TOTAL OF 60 CAPSULES
2X1102

Prevagen CHEWABLE EXTRA
emily-tastic STRENGTH Mixed Berry flavor
30 Tablets 20mg #1027 75.189.129.3 | 2/3/20246:15 | 2/6/2024 21:37
3 Bottles of Prevagen
Professional Strength 30
Capsules Lot of 3 x 30 CT
#1010!! 75.189.129.3 | 1/25/2024 3:06 | 1/26/2024 14:00

Account Name

carolina_otc 75.189.129.3 | 2/1/2024 11:44 | 2/4/2024 16:25

olivertwistnc

As noted above, all three of OLIVER’s eBay account listings were listed using the IP address

75.189.129.3.

| An IP address, or Internet Protocol address, is a unique identification number assigned to a
device that is connected to a computer network or the internet.

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19. eBay records additionally show that OLIVER has a fourth active eBay account,
“Carolina  DEALS247,” that primarily sells sports cards and sports memorabilia. eBay records
do show that this account has sold retail products in the past. This account additionally lists
OLIVER’s residence as the street address on the account registration. Furthermore, records show
listings on this account as being associated with the IP address 75.189.129.3.

20. Records show IP address 75.189.129.3 as belonging to Charter Communications,
Inc. (“Charter”), a telecommunications company that offers internet, television, and phone
services. Charter subscriber records reveal OLIVER’s residence as being the physical location
linked to IP address 75.189.129.3. Furthermore, Charter records show the subscriber name
associated with the IP address as OLIVER.

21. According to CVS Pharmacy’s Organized Retail Crime and Corporate
Investigations (ORCCD), which is a group that monitors online websites and auction sites for the
unauthorized selling of products carried by CVS, OLIVER is one of the largest sellers of OTC
medications who is not an authorized retailer. An authorized retailer is an individual, business,
or legal entity that has been officially appointed by a manufacturer to sell its products or service.
As an example, according to Quincy Biotech, the manufacturer of Prevagen”, in order for an entity
to legally sell Prevagen, it must be authorized by Quincy Biotech. According to Quincy Biotech,
OLIVER is not an authorized seller.

Les Additionally, ORCCI representatives advised that national chain retailers are

unable to purchase merchandise at the price at which OLIVER is selling them. The below chart

2 Prevagen is a non-FDA approved over-the-counter dietary supplement sold at various national
retailers.

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depicts the price differences between items listed on OLIVER’s eBay accounts in comparison to

retail prices as of April of 2024:

Retail Product olivertwistne | Emily-tastic | Carolina_ote | CVS.com | Walgreens.com
Price Price Price Price Price

Prevagen Professional $59.95 $89.99 $89.99

Strength — 30 capsules

Muro 128 5% eye solution- | $18.99 $18.99 $36.79 $36.99

% FL Oz

PlanB One-Step- 1.5 mg $22.95 $29.99 $49.99 $49.99

Nicorette Gum 2MG- 160 $52.99 $78.49 $75.99

pieces

Rephresh Pro-B- 30 | $21.95 $19.95 $38.99 $41.99

Capsules

23% As of May 7, 2024, all three of OLIVER’s eBay accounts had active listings

consisting mainly of retail products, including OTC medications. Specifically, the eBay account

“olivertwistnc” had 68 products listed for sale; the eBay account “emily-tastic” had 63 products

listed for sale; the eBay account “carolina-otc” had 76 products listed for sale.

C. January 26, 2021, Undercover Purchase

24. On or about January 26, 2021, the CVS ORCCI Manager made a controlled

purchase of Prevagen from OLIVER’s eBay site, “olivertwistnc.” On January 30, 2021, the

Prevagen arrived at its intended destination. The package listed the sender name as OLIVER with

the return address being OLIVER’s residence. The Prevagen’s box was checked, and a radio-

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frequency identification (“RFID”) tag was located. The tag was scanned using an RFID scanner
and it was determined that the original product had been purchased by Food Lion and was
intended to be sold on Food Lion shelves, and not through an eBay seller with the username
“olivertwistnc.”
D. Indiana Surveillance

25. Through the investigation, investigators discovered that numerous large parcels
suspected of containing retail merchandise such as OTC products were being mailed from Tina
Herwehe’s residence located at 5020 Southeastern Avenue, Indianapolis, IN 46203, to the
OLIVER’s residence. Between on or about February 7, 2022, and on or about May 16, 2024,
investigators conducted surveillance, through in-person physical observations as well as through
the use of a pole camera, at Herwehe’s residence. Multiple individuals, both identified and
unidentified, were observed bringing large containers, garbage bags, and plastic hand baskets
(similar to baskets used at retail stores) filled with what appeared to be product sold by retail
stores to Herwehe’s Indiana residence. Based on my training and experience, and that of other
trained investigators, this activity is consistent with trafficking in stolen merchandise.

26. One of the individuals identified by investigators, Kevin Nichols, was observed
arriving to Herwehe’s Indiana residence in a Honda Accord on February 8, 2022. Nichols was
observed handing a white trash bag containing small boxes to Anthony McKinney and then

walking into Herwehe’s residence. Investigators then observed Nichols exiting the residence a

3 Prevagen packages are equipped with Radio Frequency Identification, or RFID, tags, which is a
security feature used for tracking inventory. RFID scanners can identify a code for the product
from Quincy Biotech, the makers of Prevagen, which allows them to identify what company
purchased it and what distribution center it was sent to.

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short time later with cash in his hand and without the white trash bag. Investigators later
discovered that on March 2, 2022, Nichols was arrested in Brownsburg, IN, after attempting to
steal nine retail products from a CVS store. Law enforcement officers subsequently searched
Nichols’ Honda Accord that was parked outside the CVS. Officers located and seized 57 retail
products from the vehicle, with some of the items still in plastic theft-proof containers called
Alpha Keepers or Alpha Boxes (clear plastic containers retailers such as CVS and Walgreens use
to help minimize theft of high-value merchandise).

27. On or about March 22, 2022, a trash pull was conducted at Herwehe’s residence
at 5020 Southeastern Avenue, Indianapolis, IN. In the trash, investigators discovered the same
theft prevention alpha box containers which had been opened. None of the alpha boxes appeared
to be forcefully opened or damaged. Investigators determined that someone at the residence likely
had a key to open the alpha boxes. These keys are usually kept by retailers to open alpha boxes
and access the merchandise for paying customers. The discovery of empty open alpha boxes is
highly indicative of product that was stolen inside the alpha boxes. Criminals associated with
retail theft will steal alpha boxes containing the product, remove the product, then discard the
empty alpha boxes. In my training and experience, it can be common for some fences to require
boosters to remove all security features such as alpha boxes and security tags prior to shipping
the products to the fences. Below is an image of the empty alpha boxes found during the March

22, 2022, trash pull:

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28 Between December of 2022 and June of 2023 investigators observed several
individuals, on 12 occasions, bringing products in backpacks, red baskets which appeared to be
consistent with CVS baskets, and other large bags and containers to Herwehe’s residence.

29. While conducting physical surveillance at Herwehe’s residence on June 8, 2023,
investigators observed Anthony McKinney leaving the residence and traveling to a gas station
located at 50 W Thompson Road, Indianapolis, IN 46227. At the gas station, Anthony McKinney
met with a white female who arrived in a small sedan. The female carried a large blue plastic bin
from her vehicle to the rear of Anthony McKinney’s vehicle. Investigators observed Anthony
McKinney retrieve a garbage bag and a retail store basket believed to contain retail products from
the rear of his vehicle. He was observed sorting through product and placing items into her plastic
bin. He then carried the bin to her vehicle and placed it inside the trunk of the vehicle.

Investigators then observed the female handing Anthony McKinney cash.

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30. On January 30, 2024, investigators conducted a trash pull of Herwehe’s residence.
The trash pull led to the discovery of seven packages with electronic article surveillance (EAS)
tags attached. The tags were tested at a nearby CVS, showing that they were still activated. EAS
tags are normally deactivated during a purchase at the cash register. This indicates that the items

were not paid for and were not processed through a point of sale.

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31. On January 31, 2024, at approximately 3:23 p.m., investigators observed
Anthony McKinney beside his vehicle removing retail merchandise, including what appeared to
be Gillette brand razors and Prilosec OTC medication, from a blue tote. The tote appeared to be
the same, or similar, to the blue tote which investigators observed Anthony McKinney using to
transfer merchandise believed to be stolen on June 8, 2023. Investigators then observed Anthony

McKinney place the items into a box and then enter his residence.

32. On January 31, 2024, at approximately 6:49 p.m., investigators observed a white
truck arrive at Herwehe’s residence. An unknown male gave Anthony McKinney two white
garbage bags from inside of the vehicle. Anthony McKinney and the unknown male spoke for
approximately eight minutes. The truck departed and Anthony McKinney was seen taking the

white garbage bags into the house.

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33. On May 15, 2024, investigators observed a second white truck arrive at the
residence. An unknown male was seen exiting the vehicle with a white plastic bag and carrying
it into the residence. Approximately seven minutes later, the unknown male returned to his vehicle
without the white plastic bag and drove off. Based on my training and experience, the instances
observed through surveillance, as described above, are likely exchanges of stolen products and
payment for them.

E. FedEx and USPS Shipments Between OLIVER’s Residence and Herwehe Residence

34. On February 9, 2023, investigators observed Anthony McKinney carry a large
Lowe’s box into a vehicle. Investigators followed the vehicle to a FedEx store located at 4155
South East Street, Indianapolis, IN 46227. McKinney was observed carrying the large brown
Lowe’s box, as well as a large white box, into FedEx. While inside the FedEx store, investigators
overheard Anthony McKinney tell the FedEx employee the boxes were going to OLIVER. After

Anthony McKinney left FedEx, investigators were able to examine the exterior of the boxes. The

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labels from both boxes had OLIVER’s residence listed as the shipping address. The return address

on both labels was Anthony McKinney, 5020 Southeastern Avenue, Indianapolis, IN.

ee? Se-0747

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35. Retail investigators utilized a RFID scanner on the exterior of the boxes and they

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were able to identify seven units of Prevagen inside the packages. The RFID scan results showed
the Prevagen units originated from three different distribution centers. These included a CVS
location, a Walgreens location, and a Kroger location. This activity was video recorded and the
boxes were not opened or intercepted.

36. According to FedEx records, between August 24, 2020, and October 8, 2022, over
300 FedEx shipments, with an average weight of 29 pounds per parcel, were sent from Anthony
McKinney to OLIVER’s residence at 422 Foster Lane, Pittsboro, NC 27312. Based on my
training and experience, | am aware that, at times, using shipping services such as FedEx for

larger and/or heavier parcels can be more cost-effective than using the USPS. Additionally, based

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on my training and experience, and the aforementioned February 9, 2023, FedEx shipment, it is
likely that the 300 FedEx shipments from Anthony McKinney to OLIVER contained stolen retail
products.

37. USPS records show that between March of 2022 and February of 2024, 25 Priority
Mail Express parcels weighing one pound or less, were mailed from OLIVER to Herwehe’s
residence located at 5020 Southeastern Avenue, Indianapolis, IN. One of these parcels, discussed
below under the paragraph titled “Parcel 7743,” was confirmed to contain thousands of dollars in
U.S. currency, and the others are suspected of containing U.S. currency given the similarities in
parcel weight and USPS delivery services used. A second parcel identified by Postal Inspectors,
USPS Priority Mail Express parcel bearing USPS tracking number 948171110803341791 1744,
was sent by OLIVER on July 28, 2022, and shipped to Anthony McKinney at his address located
at 5020 Southeastern Avenue, Indianapolis, IN. Records show the postage was paid through a
STAMPS.COM online postage meter, account number 14406527. The name on the account is
listed as OLIVER and the address on the account is listed as OLIVER’s residence. Furthermore,
the email address listed on the account is olivertwistnc2003@yahoo.com, which has been
previously discussed in this affidavit as being linked to OLIVER.

38. Based on my training and experience, I am aware that Express Mail overnight
delivery is intended to be next-day service. The USPS also provides a tracking service through a
USPS tracking number, which allows the customer to track the parcel and confirm delivery.

39. Based on my training and experience, and that of other trained investigators, I
know that individuals who engage in criminal conspiracies utilize USPS to send and receive
items, including money, due to the security of mailing via USPS. I also know that people involved

in criminal activity prefer mail/delivery services such as Express Mail and Priority Mail because

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of their reliability and the ability to track the article’s progress to the intended delivery point.
Further, the expedited shipping option makes it easier for individual(s) who mail illegal items
and/or illegally obtained money, to circumvent law enforcement detection.
F. USPS Parcel 7743

40. On or about August 4, 2022, Postal Inspectors were alerted by the Garfield Post
Office in Indianapolis, Indiana of the following parcel addressed to Anthony McKinney, at 5020
Southeastern Avenue, Indianapolis, IN: One USPS Priority Mail Express parcel bearing USPS
tracking number 9481 7111 0803 3433 2377 43, addressed to “Anthony McKinney, 5020
Southeastern Ave, Indianapolis IN 46203-3764” with OLIVER and his residence listed as the
return address.

41. On August 4, 2022, at approximately 9:37 a.m., Postal Inspectors retrieved
Parcel 7743 from the Garfield Post Office, Indianapolis, IN. On August 8, 2022, Postal Inspectors
applied for a search warrant for Parcel 7743. That application was granted by the Honorable
Judge Doris Pryor for the Southern District of Indiana on August 9, 2022 (case number 1:22-mj-
0682). On August 9, 2022, the warrant for Parcel 7743 was executed. Contained within Parcel
7743 was $4,780.00 in U.S. currency. The currency was returned to Parcel 7743, and the parcel
was returned to the mail stream in order to continue the investigation.

G. Audio Recordings

42. On August 4, 2022, an individual identifying himself as Mike Hines, called
USPS inquiring about Parcel 7743. In the call, Hines states the package was going to his friend’s
house on Southeastern Avenue. While on the call, Hines can be heard making another call on a
different phone, confirming with an individual he refers to as “Tony” the exact address the

package was going to. “Tony” confirms the address is 5020 Southeastern Avenue. Based on the

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knowledge of this investigation, inspectors believe Hines was speaking with Anthony McKinney
while on the call with USPS. In the call, Hines stated the parcel contained documents and
information that they needed.

43. On August 8, 2022, an individual identifying himself as OLIVER, calling from
919-444-4880, which is a phone number previously linked to OLIVER, called USPS customer
service inquiring about Parcel 7743. OLIVER stated he sent a guy he knows approximately
$4,000.00 in cash through USPS. In the call, OLIVER confirmed Parcel 7743 was picked up from
his residence, 422 Foster Ln, Pittsboro, NC 27312, which is OLIVER’s residence. In the call,
OLIVER stated he had wired the guy money before because he is an eBay seller, and OLIVER
had bought merchandise from him before to resell. Further, on the call, OLIVER confirmed his
email address was olivertwistnc2003@yahoo.com. Based on the knowledge of this investigation,
inspectors believe the individual OLIVER was referring to in this call was Anthony McKinney.

44. Based on my training and experience, and that of other Postal Inspectors who
have experience with parcels containing money derived from suspected illicit activities, I know
that individuals who call regarding such packages often provide differing stories or variations of
the truth as to the contents and/or reason behind the mailing of the package. Because Hines and
OLIVER gave different explanations as to what was contained in the package, I believe this was
an attempt to conceal the nature of the money that was contained in the package.

H. USPS Parcel 8254

45. On January 26, 2023, Postal Inspectors were profiling packages going to
OLIVER’s residence and intercepted a parcel with tracking number 950551 1001413024138254
(“Parcel 8254”) that was suspicious in nature. The parcel sounded like it contained pills when

moved, and like the boxes shipped to OLIVER’s residence in 2019 had a handwritten label and

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was heavily taped. Postal Inspectors applied for Federal Search Warrants, and the Honorable
United States Magistrate Judge L. Patrick Auld signed the warrant (1 :23MJ51).

46. The parcel was opened by Postal Inspectors pursuant to the signed Federal Search
Warrant. The parcel contained the following retail products and name brand OTC medications

and some store brand products and OTC medications from CVS and Walgreens.

Items in Box Quantity
Dermend (Pink)

Dermend (Blue)

CoQ-10 400 mg

Prevagen Extra Strength — Chewable
Prevagen Extra Strength — 60 Capsules
Prevagen Extra Strength — 30 Capsules
Prevagen 30 Capsules

RepHresh — Vaginal Probiotic Supplement
RepHresh Pro-B Feminine Probiotic Supplement
Crest 3D Whitestrips

Natural Lamb Luxury Condoms
Kardia Mobil

Systane Zaditor

Muro

Super Bata Prostate

Ageless Male

HClear for him

FemiClear

FDgard

IBgard

Mucinex DM

Mucinex

The parcel was repackaged and placed back in the mail stream for delivery.
I. Interview of S.B.
47. On February 27, 2024, I interviewed a former employee of OLIVER, an individual
whose initials are S.B. S.B., and other individuals who worked for OLIVER, worked at
OLIVER’s residence. S.B. specifically worked at OLIVER’s residence from 2019 to 2022.

S.B.’s duties as an employee of OLIVER were opening large Lowe’s boxes filled with retail

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products, sorting the items, making sure the expiration dates were still valid, taking photos of the
items, and listing the items on eBay. S.B.’s statement of receiving large Lowe’s boxes at the
OLIVER’s residence is consistent with investigator’s observations of Anthony McKinney
shipping out large Lowe’s boxes to OLIVER’s residence from Indiana.

48.  §.B. admitted that OLIVER paid S.B. $25-$30, in cash, per hour or roughly $80-
$100 per day. S.B. additionally confirmed that OLIVER paid S.B. under the table. According to
S.B., OLIVER said the cash he was paying S.B. was after taxes were already taken out.

49. | OLIVER gave S.B. access to his eBay accounts so S.B. could list the items and
respond to customers. Once these items would sell on eBay, S.B. would package the items, print
shipping labels, and ship the items out from OLIVER’s residence via the USPS. S.B. believed
the USPS would pick up between 150 to 200 packages a day from OLIVER’s residence.

50. USPS records show that in 2022 and 2023, OLIVER shipped out over 28,000
parcels from OLIVER’s residence through the USPS.

51. OLIVER told S.B. that he purchased the items at discounted prices from stores
that went out of business. These items included merchandise that would originally be sold at
grocery stores like Wal-Mart and retail stores like CVS, and included health and beauty items,
vitamins, condoms, make-up, and over-the-counter medications. OLIVER additionally instructed
S.B. to remove any security sticker tags that were found on some of the items before listing them
for sale. S.B. also noticed many of the items were shipped to OLIVER with security tags already
damaged. When asked why OLIVER had S.B. take off the security stickers, S.B. said that
OLIVER stated that he did not want the items to look damaged when posting photos of the items

on eBay.

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52. While working for OLIVER, S.B. recalled seeing numerous items encased in
Alpha Box security containers. Specifically, S.B. stated that those particular cases were placed
ona shelf inside OLIVER’s residence. As previously mentioned in this affidavit, alpha boxes are
security containers used by retailers to minimize theft of high-value merchandise and require a
special key to open them.

53. To figure out the listing price for each item sold through OLIVER’s eBay
accounts, OLIVER requested that S.B. research prices online for each particular item. OLIVER
maintained a spreadsheet for the inventory which listed the cost of the item, the profit OLIVER
wanted to make off each item, and the listing price. All of OLIVER’s employees had laptops that
were collectively synced together so that employees could access the main pricing spreadsheet.
When asked who added the cost or price paid for each item to the spreadsheet, S.B. stated that
OLIVER somehow added the cost of each item to the spreadsheet prior to the employees
inventorying and entering each item onto the spreadsheet. S.B. confirmed that OLIVER had his
own desktop computer that he primarily used. S.B. believed that OLIVER had numerous desktop
computers that he used. S.B. additionally told investigators that OLT[VER owned multiple cellular
telephones and would send emails and text messages related to the SUBJECT BUSINESSES
from his cell phones. From memory, S.B. recalled OLIVER’s phone number as being (919) 444-
0880, which is one digit off from OLIVER’s actual number of (919) 444-4880. A check of the
phone number provided by S.B., (919) 444-0880, shows that it is not registered to anyone. In my
training and experience, given the similarity between both phone numbers, S.B. attempting to
recall the number by memory, and the number provided by S.B. as not being a registered number,

it is likely that S.B. was attempting to recall OLIVER’s actual phone number (919) 444-4880.

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54. According to S.B., OLIVER would send cash payments, via USPS Express Mail,
to individuals who sold him the bulk merchandise. S.B. also recalled OLIVER repeatedly going
to Navy Federal Credit Union to send individuals money.

55s S.B. stated that OLIVER primarily used three email addresses to conduct business
and recalled one of them as being olivertwistnc2003@gmail.com.

J. olivertwistnc2003@gmail.com Records

56. Gmail subscriber records associated with the email address
olivertwistnc2003@gmail.com, which has previously been identified in this affidavit as being
linked to OLIVER’s eBay account “emily-tastic” and also identified through S.B.’s interview,

shows the account registered to the name “Bob” with no last name listed. The account was created

‘by OLIVER in September of 2009.

57. The Google Pay billing account associated with olivertwistnc2003@gmail.com
lists the customer name of “Bob Oliver,” which is a name OLIVER commonly used, and the
address as OLIVER’s residence.

58. Login activity for this Gmail account identifies the IP address of 75.189.129.3 as
logging into the account as recently as January 22, 2024. As previously discussed in this affidavit,
IP address 75.189.129.3 has been linked to OLIVER at his residence.

59. Postal Inspectors applied for a Federal Search Warrant on the email address,
olivertwistnc2003@gmail.com, and the Honorable Joe L. Webster signed the warrant
(1:24MJ186-1). Investigators subsequently obtained records on the account and reviewed
photographs, videos, and screenshot images from what appeared to be a cellular telephone

associated with the account. The following photographs and images were discovered:

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a. An image of a USPS Priority Mail Express label with the return address of Bob
OLIVER at his residence addressed to “T MCKINNEY, 5020 SOUTHEASTERN
AVE., INDIANAPOLIS, IN 46203”. The label listed a scheduled delivery date of
August 27, 2021.

b. Images of several handwritten and typed inventory and pricing sheets which
contained the names of numerous OTC medications, quantity of items, and price
per item.

c. One image containing four boxes of KardiaMobile, which is a device sold at retail
stores that can record electrocardiograms, with damaged and removed EAS security

stickers.

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d. Images from inside the residence believed to be OLIVER’s residence of shelving
containing a large quantity of shipping boxes and containers, packaging material, and
retail products and OTC medication. These images are consistent with statements made

by S.B., and others, who have been inside OLIVER’s residence.

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e. A tutorial video made by OLIVER on how to obtain the current pricing on eBay of
Prevagen Extra Strength 30 capsules. On the video, OLIVER is recording himself on
a computer navigating several eBay sites and discussing tips on selling Prevagen on
eBay and the best methods to find accurate pricing. The eBay homepage on the
computer screen displays the name “Robert” and indicates “Shipping to: 27312”, which

is the same zip code as OLIVER’s residence (highlighted in red on screenshots below).

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f. Cellular telephone screenshot images of text messages discussing the purchase and sale
of retail products and OTC medications as well as shipping and payment records.
60. The recovery telephone listed on the account is OLIVER’s phone number (919)
444-4880. Furthermore, the alternate e-mail address and recovery email address listed on the
Gmail account is olivertwistnc2003@yahoo.com.

K. olivertwistnc2003@yahoo.com Records

61. Yahoo subscriber records associated with the email address
olivertwistnc2003@yahoo.com, which has previously been identified in this affidavit as being

linked to OLIVER’s eBay account “olivertwistnc” and also identified as the email address

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OLIVER provided on his call to USPS customer service on August 8, 2022, shows the registered
name on the account as OLIVER in the city of “Pittsboro, NC 27312.” The account registration
date is listed as January 1, 2005. The recovery phone number on the account is (919) 444-4880,
which has previously been discussed in this affidavit as being linked to OLIVER.

62. The email address olivertwistnc2003@yahoo.com is listed as a recovery email for
another one of OLIVER’s yahoo accounts, olivertwistnc2011@yahoo.com, which is the email
address linked to OLIVER’s third eBay account, “carolina_otc”.

63. Login activity for olivertwistnc2003@yahoo.com account identifies the same IP
address linked to OLIVER at OLIVER’s residence, 75.189.129.3, as logging into the account as
recently as February 4, 2024. Furthermore, Charter subscriber records associated with the IP
address 75.189.129.3 show that olivertwistnc2003@yahoo.com is one of the email accounts listed
under “User Name or Features” on the account.

64. Bank of America records show that on May 28, 2021 and on October 12, 2021,
OLIVER listed the email address olivertwistnc2003@yahoo.com on two business credit card
applications for the corporation named “CAROLINA DEALS247”, which is the same name as
one of OLIVER’s active eBay accounts.

L. February 27, 2024, Undercover Purchase

65. On or about February 27, 2024, the CVS ORCCI Manager made a controlled
purchase of Prevagen from OLIVER’s eBay site, “carolina_otc.” On March 1, 2024, the Prevagen
arrived at its intended destination. The package listed the sender name as OLIVER with the return
address being OLIVER’s residence. The Prevagen box was checked, and an RFID tag was

located. The tag was scanned using an RFID scanner and it was determined that the original

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product had been purchased by CVS and was intended to be sold on CVS shelves, and not through
an eBay seller with the username “carolina_otc”.
M. USPS Parcel 5144 & USPS Parcel 5168

66. On February 28, 2024, Postal Inspectors were profiling packages going to
OLIVER’s residence and intercepted two parcels, with tracking numbers 9534 6105 5363 4057
7551 44 (“Parcel 5144”) and 9534 6105 5363 4057 7551 68 (“Parcel 5168”), that were suspicious
in nature. Both parcels sounded like they contained pills when moved, and like the boxes shipped
to OLIVER’s residence in 2019 and 2023, had handwritten labels and were heavily taped. Both
parcels had handwritten labels with the sender name, “Redick,” with a return address of 2018
Oldfield Pt. Rd., Elkton, MD.

67. Postal Inspectors applied for Federal Search Warrants, and the Honorable United
States Magistrate Judge Joe. L Webster signed the warrants (1:24MJ92-1 and 1:24MJ93-2) on
February 28, 2024. On February 29, 2024, both parcels were opened by postal inspectors in
Greensboro, NC, pursuant to the signed Federal Search Warrant. Both parcels contained 144
OTC medications and retail items.

68. Parcel 5144 contained the following items:

Items in Box Quantity
Prevagen (30 Capsules- Professional Formula) 4
Prevagen (30 Capsules- Extra Strength) 6
Prevagen (30 Capusules- Regular Strength) 6

Plan B One-Step 16
Inventory Sheet (containing list of OTC items, 1

from both parcel 5144 & parcel 5168,
quantity of each item, price per unit of
each item, and totals)

After closely inspecting each item, I discovered that all of the Prevagen packages had small cuts

across the front of the packaging. Upon turning each Prevagen package over, it was evident that

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the cuts were made through each of the package’s Electronic Article Surveillance (EAS) anti-theft

sticker tags (as diagramed in the below pictures within the red highlighted areas).

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69. In my training and experience, I know that retailers use EAS stickers as a theft
prevention system. When a paying customer presents an item with an EAS sticker at a point of
sale (POS) register, the EAS sticker is disabled after payment is made, allowing the paying
customer to walk-out of the store without the security pedestals or alarms being activated.
Thieves can circumvent the security pedestals from being activated by cutting the EAS stickers
or removing them from the packaging altogether, thus making the EAS stickers ineffective in
activating any security alarms.

70. I used the RFID Prevagen scanner to scan 16 Prevagen bottles located inside of
one of the parcels. The results of those scans show that all 16 Prevagen bottles were initially slated
to be sold at Walgreens.

71. Parcel 5168 contained the following items:

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Items in Box Quantity

PreserVision Areds120
Preservision Areds 130

RePhresh Pro-B

Florastor

IB Gard

FD Gard

AZO

Muro Eye Ointment

Dermed- Pink

Dermed- Blue

Recticare

Flonase Sensimist

Crest Glamorous Whitening Strips
Crest 1-hour express Whitening Strips
Zyrtec 90

Zyrtec 60

Align 56

Align 42

Allergy Test kit

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72.  Lalso discovered two packages of PreserVision, three packages of Align Probiotic,
and two packages of RectiCare with stickers that contained the following statement, “Intended

for Sale at CVS/pharmacy if found elsewhere call 866-439-8724.”

rreservision

EYE VITAMIN AND
MINERAL SUPPLEMENT

73. A manager with CVS’s ORCSI confirmed that these stickers were placed onto
these items by CVS employees and the items were intended to be sold at CVS retail stores only.
74, Furthermore, when asked what happens to remaining retail merchandise, such as
OTC medications, at a CVS store that goes out of business or permanently closes, CVS’s ORCSI
manager stated that the items would be shipped to another CVS store and sold there. The ORCSI

manager confirmed that these items would never be sold, in bulk, to OLIVER outside of a retail

30

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setting. Additionally, CVS’s ORCSI group queried all incoming phone calls to the 866-439-8724
number to determine if anyone had called CVS to report the missing containers of PreserVision
and/or Align Probiotics. The ORCSI group found that no calls were received from OLIVER
between March of 2021 to March of 2024.

75. As previously mentioned in this affidavit, both parcels had handwritten labels with
the sender name, “Redick,” with a return address of 2018 Oldfield Pt. Rd., Elkton, MD.
Investigators identified Richard Redick as an individual currently living at that address. A
criminal history check on Redick reveals that has been previously arrested for theft of retail items,
to include at least one incident involving the theft of retail merchandise similar to the items found
in the 2019, 2023, and 2024 parcels. Additionally, USPS records show that within the last five
months (between October of 2023 and February of 2024), there have been 10 parcels weighing
between 5 to 20 pounds originating from Redick OR Elkton, MD being shipped to OLIVER’s
residence.

76. On February 29, 2024, both parcels were repackaged by postal inspectors and
handed to a USPS employee in Pittsboro, NC, to be delivered. The USPS employee subsequently
traveled to OLIVER’s residence and placed both items inside a room of the residence that is
commonly used for parcel deliveries.

77. In continued profiling of USPS packages being shipped to OLIVER’s residence,
investigators discovered that between the dates of March 1, 2024, and April 26, 2024, OLIVER
has received seven parcels weighing over five pounds at OLIVER’s residence. In my training
and experience, the weight and shipping services associated with these parcels are consistent with
previous parcels shipped to OLIVER’s residence that were verified to contain retail merchandise.

Given the above-mentioned statements from witnesses, eBay records, and shipment records, it is

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likely that retail products, such as OTC medications, are currently located inside OLIVER’s
residence.
N. Confidential Source Interview

78. On February 29, 2024, I interviewed a confidential source, an individual whose
initials are L.B., who regularly meets with OLIVER and frequents OLIVER’s residence. L.B.
advised that in early February of 2024, L.B. entered OLIVER’s residence and observed over 1000
retail products on shelves that included pregnancy tests, allergy medications, and dog
medications. L.B. additionally stated that OLIVER had openly discussed receiving a parcel at
OLIVER’s residence that contained OTC medication returned by a customer.

O. May 30, 2024, Undercover Purchase

79.  Onor about May 30, 2024, the CVS ORCCI Manager made a controlled purchase
of Prevagen from OLIVER’s eBay site, “emily_tastic.” On May 31, 2024, postal inspectors
intercepted all outbound parcels originating from OLIVER’s residence. Postal inspectors
discovered 49 parcels packaged in white mailer envelopes or small boxes. While handling the
parcels, postal inspectors noted that most of the parcels sounded like they contained pills. All the
parcels had shipping labels with pre-paid postage and OLIVER’s residence listed as the return
address. While all the parcels bore the OLIVER’s residence as the return address, they all
contained the following names associated with the return address, “Emily Tastic’’, “Bob Oliver’,
“Carolina OTC”, “olivertwistnc”, and “Robert W Oliver”. The business names are the same
names associated with OLIVER’s eBay accounts. In my training and experience, individuals who
ship numerous items daily using prepaid postage bearing different business names on the labels
usually operate multiple businesses or entities from the same location. Below are images of the

outbound parcels being shipped from OLIVER’s residence on May 31, 2024,

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80. Postal inspectors retrieved the parcel associated with the May 30, 2024, controlled
purchase. The package listed the sender name as OLIVER with the return address being
OLIVER’s residence. On June 3, 2024, postal inspectors opened the parcel and discovered a
bottle of Prevagan matching the item description listing on OLIVER’s eBay site, “emily_tastic.”

P. PayPal Account XXX XXXX XXXX XXXX 7490

81. A review of PayPal transaction records between the dates of January 2019 and
February 2024, for account ending 7490, show it to be an account registered to OLIVER at
OLIVER’s residence. Financial transactions on account 7490 show that this PayPal account is
funded, in part, through the sale of OTC products and retail merchandise. Between the dates of
January 1, 2019, and February 2024, PayPal account 7490 received approximately $1,263,401 in
incoming payments.

82. Records additionally show Bank of America checking accounts ending 2752 and
9725, which were opened by OLIVER, are banks accounts currently linked to PayPal account

7490 as of February 2024.

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Q. PayPal Account XXX XXXX XXXX XXXX 9287

83. A review of PayPal transaction records between the dates of January 2019 and
February 2024, for account ending 9287, show it to be an account registered to OLIVER at his
residence. Additionally, the primary email account associated with the PayPal account ending in
9287 is listed as olivertwistnc2003@yahoo.com. Financial transactions on account 9287 show
that this PayPal account is funded, in part, through the sale of OTC products and retail items.
Between the dates of January 1, 2019, and February 2024, PayPal account 9287 received
approximately $5,498,109 in incoming payments.

84. PayPal records for account ending 9287 additionally show numerous payments
made to S.B. Specifically, between December 2020 and January 2021, 25 payments totaling
$5,235 were made directly to the counterparty name of S.B. in the form of “Mobile Payments-
Personal” as well as “General Payments- Personal”. Additionally, one payment for $2,750 was
made on April 2, 2021, with the payment notes reflecting “[XX]/S.B. April rent.”

85. PayPal records additionally show Bank of America checking accounts ending
2752, 9725, and 4334, which were opened by OLIVER, are current bank accounts linked to
PayPal account 9287 as of February 2024.

R. Bank of America Account XXXXX2752

86. Investigators reviewed Bank of America account ending 2752, which was opened
by OLIVER. The address on the account statement is listed as OLIVER’s residence.
Investigators discovered that between on or about January 1, 2019, and on or about February
2024, BOA account ending 2752 was one of three BOA accounts controlled by OLIVER that was
receiving funds from PayPal and eBay which investigators believe to be related to the sale of

retail products from OLIVER’s aforementioned eBay business accounts.

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87. Specifically, between January 20, 2021, and July 22, 2022, eBay Seller Payout
records for the SUBJECT BUSINESSES show the following transfers being made into the Bank

of America account ending 2752:

eBay Account Transfer Amount
Carolina_otc: $315,906.51
Emily-tastic: $528,301.84
Olivertwistnc: $191,891.39
Total: $1,036,099.74

88. Records from BOA account ending 2752 between January 9, 2019, and May 17,
2022, reveal that over 130 wire transfers totaling $517,308 were sent by OLIVER to Herwehe
and McKinney. Many of the wire transfers were performed one to four days apart from each other
and none of the transfers were over $10,000. In my training and experience, individuals who
repeatedly send out large wire transfers under $10,000 to the same individual, within a short
period of time, do so to avoid scrutiny from financial institutions and to evade law enforcement.

89, A review of other outbound payments on BOA account ending 2752 additionally
revealed hundreds of Peer to Peer (“P2P”) * payments (from payment processing companies such
as CashApp, Zelle, and FB Pay) to several known and unknown individuals. These outbound
payments consisted of amounts that varied from ten dollars to two thousand dollars. Many of
these payments were sent by OLIVER to the same recipients within a timespan of several days.
In my training and experience, individuals who repeatedly send multiple P2P payments, within a

short period of time to the same individual, do so to avoid law enforcement detection.

4 Peer to Peer (“P2P”) payment services are financial transactions made between two parties with
separate bank accounts, provided by a third-party website or mobile application.

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S. Bank of America Account XXXX XXXX 4334
90. Investigators reviewed Bank of America account ending 4334, which was opened
by OLIVER. The address on the account statements are listed as OLIVER’s residence.
Investigators confirmed that account 4334 was identified as receiving funds from PayPal and
eBay which investigators believe to be related to the aforementioned sale of OTC products from
OLIVER’s eBay business accounts.
91. Between July 22, 2022, and May 18, 2024, eBay Seller Payout records for the

SUBJECT BUSINESSES show the following transfers being made into the Bank of America

account ending 4334:
eBay Account Transfer Amount
Carolina_otc : $374,314.77
Emily-tastic: $334,700.80
Olivertwistne: $256,306.19
Total: $965,321.76
92. A review of outbound payments from this BOA account revealed numerous P2P

payments that were sent by OLIVER to the same recipients within a timespan of several days.
T. Bank of America Account XXXX XXXX 9725

93. Investigators reviewed Bank of America account ending 9725, which was opened
by OLIVER. The address on the account statements are listed as OLIVER’s residence.
Investigators confirmed that account 9725 was identified as receiving funds from PayPal and
eBay which investigators believe to be related to the aforementioned sale of OTC products from
OLIVER’s eBay business accounts.

94. A review of outbound payments from this BOA account additionally revealed
numerous P2P payments that were sent by OLIVER to the same recipients within a timespan of

several days.

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95.

Bank records additionally reveal that between January 2022 and January 2024,

OLIVER conducted hundreds of online bank transfers ranging from $100 to several thousand

dollars between all three of his BOA accounts. These records show multiple transfers made to

and from the same accounts on an almost weekly basis. In my training and experience, individuals

who conduct numerous transfers between multiple accounts of the same financial institution, also

known as layering®, do so in an effort to make the source of those funds difficult to trace.

96.

Additionally, BOA records show OLIVER conducting large ATM cash

withdrawals between all three accounts with similar frequency. Below is a table reflecting ATM

withdrawals across all three BOA in the 12-day period between July 7, 2022, and July 18, 2022.

BOA CHATHAM CROSSING- CHAPEL HILL, NC

BOA RESEARCH TRIANGLE PARK, DURHAM, NC

TRANS. DATE | ACCT 2752 | ACCT 4334 | ACCT 9725 TRANS. DATE | ACCT 2752 | ACCT 4334 | ACCT 9725
7/7/2022 $800.00 $800.00 $800.00
$700.00 $700.00
7/8/2022 $800.00 $800.00 $800.00
$700.00 $700.00
7/9/2022 $800.00 $800.00 $800.00
$700.00 $700.00
7/11/2022 $1,200.00 $800.00
$1,200.00 $700.00
7/12/2022 $1,200.00 $800.00
$1,200.00 $700.00
$100.00
7/14/2022 | $1,200.00 | $1,200.00 | $1,200.00
$300.00 | $1,200.00 $300.00
$100.00
7/15/2022 | $1,200.00 | $1,200.00 | $1,200.00
$300.00 | $1,200.00 $100.00
$100.00
7/17/2022 $800.00 | $1,200.00 | $1,200.00

> According to the U.S. Department of Treasury, layering involves separating the illegally obtained
money from its criminal source by layering it through a series of financial transactions, which
makes it difficult to trace the money back to its original source.

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$700.00 | $1,200.00 $300.00

$100.00
7/18/2022 $1,200.00 | $1,200.00 | $1,200.00
$300.00 | $1,200.00 $300.00

$100.00

The above table shows a total of $41,100 cash withdrawn from two ATM locations for this 12-day
period. Specifically, the activity shows multiple ATM withdrawals from all three accounts on the
same day. In my training and experience, individuals who conduct multiple ATM withdrawals on
a recurrent basis from multiple accounts, all within the same day, are attempting to structure cash
withdrawals in an effort to evade detection by law enforcement. Additionally, in my training and
experience, these cash withdrawals are also consistent with OLIVER obtaining cash to mail cash
payments to Herwehe, and others, as previously discussed in this affidavit.

CONCLUSION

97. Based on the above, the investigation has determined that OLIVER is likely
engaged in the business of obtaining stolen merchandise such as OTC medications and retail
products and then reselling the items through online retailers such as eBay. Based on OLIVER’s
financial records and other connections to suspected shoplifting rings, as well as the fact that he
sells the products well below market retail value, despite not being an authorized dealer, it is
believed that the majority of merchandise OLIVER is selling through online retailers is stolen.

98. Furthermore, a review of the transactions in the SUBJECT ACCOUNTS reflects
that OLIVER directed or transferred criminally derived proceeds to each of the SUBJECT
ACCOUNTS and commingled the criminally derived proceeds with other funds in the accounts
in order to conceal the nature and source of the criminally derived funds, so that there is probable

cause to believe that all funds in each of the SUBJECT ACCOUNTS, including any legitimate

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funds, facilitated the commission of the money laundering offenses by concealing, hiding, and
disguising the nature and source of the illegitimate funds.

99. In addition, based on my training and experience and the investigation described
above, I submit there is probable cause to believe that funds on deposit in the SUBJECT
ACCOUNTS constitute property involved in transactions or attempted transactions in violation
of 18 U.S.C. § 1956, and are therefore subject to seizure and civil or criminal forfeiture to the
United States pursuant to 18 U.S.C. §§ 981(a)(1)(A) and 982(a)(1).

100. I submit that a protective or restraining order issued pursuant to Title 21, United
States Code, Section 853(e) may be insufficient to ensure the availability of the funds in the
SUBJECT ACCOUNTS for forfeiture because bank representatives receiving restraining orders
sometimes fail to put the necessary safeguards in place to freeze the money in time to prevent the
account holder from accessing the funds electronically, or fail to notify the proper personnel as
to the existence of the order, or the bank exercises its own right of setoff to satisfy an outstanding
debt owed to the bank by the account holder. In contrast, where electronic funds are concerned,
a seizure warrant guarantees that the funds will be in the Government’s custody once the warrant
is served. Thus, I submit that a seizure warrant is the only means to reasonably assure the

availability of the funds in the SUBJECT ACCOUNTS for forfeiture.

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101.

of all funds in the SUBJECT ACCOUNTS.

Accordingly, I respectfully request that warrants be issued authorizing the seizure

Respectfully submitted,

/s/ Alberto G. Sanabria

Alberto G. Sanabria

Postal Inspector

United States Postal Inspection Service

In accordance with Rule 4.1(b)(2)(A), the Applicant appeared before me by telephone, was placed
under oath, and attested to the contents of this Affidavit, which was submitted to me by reliable

electronic means.

On this “it day of June, 2024, at S* 2 acti fp.)

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table Joi Elizabeth Peake
tates Magistrate Judge
Middle District of North Carolina

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